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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                  CASE NO. 3:16cr88-MCR

CODY BOONE COVERT
_______________________________/


                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, CODY BOONE COVERT, to Counts One and Seven of the Indictment

is hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

      DONE and ORDERED this 2nd day of November, 2016.



                               s/   M. Casey Rodgers
                               M. CASEY RODGERS
                               CHIEF UNITED STATES DISTRICT JUDGE
